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 6                                UNITED STATES DISTRICT COURT
 7                               SOUTHERN DISTRICT OF CALIFORNIA
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 9    DMITRY LEVSHIN,                                             CASE NO. 11cv3018 JM(RBB)
10                                          Plaintiff,            ORDER GRANTING MOTIONS TO
             vs.                                                  DISMISS; GRANTING LEAVE TO
11                                                                AMEND
      SAN DIEGO SHERIFF’S DEPARTMENT;
12    WILLIAM D. GORE; COUNTY OF SAN
      DIEGO; LA MESA POLICE
13    DEPARTMENT; ED ACEVES; CITY OF
      LA MESA; STATE OF CALIFORNIA
14    DEPARTMENT OF CORRECTIONS AND
      REHABILITATION; NATALIE MURRELL,
15
                                         Defendants.
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17          Defendant Natalie Clayton (“Clayton”), erroneously sued as Natalie Murrell, moves to dismiss
18   all claims asserted against her. Plaintiff Dmitry Levshin (“Levshin”) does not oppose the motion.
19   Pursuant to Local Rule 7.1(d)(1), the court finds this matter appropriate for resolution without oral
20   argument. For the reasons set forth in its previous orders granting the motion to dismiss all claims
21   against Clayton, and based upon Plaintiff’s failure to oppose the motion, the court grants the motion
22   to dismiss.
23          IT IS SO ORDERED.
24   DATED: December 4, 2012
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                                                         Hon. Jeffrey T. Miller
26                                                       United States District Judge
27   cc:           All parties

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